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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 CENTRAL DIVISION

CHELSEY LUCAS                                                                         PLAINTIFF

v.                               Case No. 4:22-cv-00878-KGB

UNIVERSITY OF ARKANSAS AT
PINE BLUFF                                                                          DEFENDANT

                                             ORDER

       Before the Court is the parties’ joint stipulation of dismissal (Dkt. No. 10). The stipulation

accords with the terms of Federal Rule of Civil Procedure 41(a)(1)(A)(ii). For good cause shown,

the Court adopts the stipulation of dismissal. The action is dismissed with prejudice.

       It is so ordered this 10th day of October, 2023.


                                                      ________________________________
                                                      Kristine G. Baker
                                                      United States District Judge
